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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES — GENERAL

Case No. CV20-5671 MCS (Ex) Date October 16, 2020

 

 

Title Terry Fabricant v. Affinity Consultants Ltd. et al

 

Present: The Honorable Mark C. Scarsi, United States District Judge

 

 

Stephen Montes Kerr Not Reported
Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):
None Present None Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

This action was filed over 90 days ago. The docket in this case lacks filings
showing it is being timely prosecuted.

Plaintiff is ORDERED TO SHOW CAUSE why the action should not be
dismissed without prejudice under Federal Rule of Civil Procedure 4(m). Plaintiff
shall file a written response to this Order to Show Cause within 14 days.

In lieu of a written response, Plaintiff may discharge this Order to Show Cause
by filing documents showing that the matter is being prosecuted diligently—for
example, a proof of service of summons and complaint.

Failure to file a timely and satisfactory response may result in the dismissal
of this action in its entirety for lack of prosecution.

IT IS SO ORDERED.

 

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